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                 UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

VOTER PARTICIPATION CENTER,
et al.,

                               Plaintiffs,        Case No. 1:21-cv-01390-JPB
v.                                                     Judge J.P. Boulee

BRAD RAFFENSPERGER, in his
official capacity as Secretary of State
of the State of Georgia, et al.,

                             Defendants,

and

REPUBLICAN NATIONAL
COMMITTEE, et al.,

                 Intervenor-Defendants.


                    CONSOLIDATED PRETRIAL ORDER
                                             1.
      Other than the pretrial motions which may be filed pursuant to the Standing
Order Regarding Civil Litigation for Cases Proceeding Before The Honorable J. P.
Boulee, there are no pending motions in this case.
      The parties may file motions for judicial notice.

                                             2.
      All discovery has been completed, unless otherwise noted, and the Court will
not consider any further motions to compel discovery. Provided there is no resulting
delay in readiness for trial, the parties shall, however, be permitted to take
depositions of any person for the preservation of evidence and for use at trial.



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                                             3.
      The case caption should be updated to reflect the current membership of the
Georgia State Election Board: Matthew Mashburn, Sara Tindall Ghazal, Edward
Lindsey, and Janice Johnston.


                                            4.
       This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331,
1343, and 1357, and 42 U.S.C. § 1983 because the matters in controversy arise under
the Constitution, as well as under the Declaratory Judgment Act, 28 U.S.C. §§ 2201
and 2202, to grant the declaratory relief requested. State Defendants also assert that
Plaintiffs lack standing to bring their claims.


                                            5.
      The following individually named attorneys are hereby designated as lead
counsel for the parties:
         Plaintiffs Voter Participation Center (“VPC”) and Center for Voter
          Information (“CVI”): Danielle Lang and Alice Huling


         State Defendants: Bryan P. Tyson and Gene C. Schaerr


         Intervenor Defendants: Gilbert C. Dickey and W. Bradley Carver


                                            6.
      This case will not be tried before a jury. Plaintiffs request the opportunity to
present opening, closing, and rebuttal arguments to the Court.


                                            7.
         The captioned case shall be tried to the Court without a jury.


                                            8.
         This case will be tried to the Court and the parties do not request a bifurcated
trial.

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                                           9.
       Because this case will be tried to the Court, the parties have not attached a list
of questions for the Court to propound to a jury concerning their legal qualifications
to serve.


                                          10.
      Because this case will be tried to the Court, the parties have not attached a list
of questions for the Court to propound to jurors on voir dire examination.


                                          11.
      Because this case will be tried to the Court, the parties have no voir dire
questions or corresponding objections.


                                          12.
       Because this case will be tried to the Court, the parties are not requesting any
strikes.


                                          13.
      Plaintiffs assert that there is no pending related litigation.


      State and Intervenor Defendants assert that this case is related to the ongoing
consolidated action currently before this Court, In re SB 202, No. 1:21-mi-55555-
JPB, where certain of the plaintiffs in that civil action challenge the same portions
of SB 202, albeit through different causes of action.


                                          14.
       Attached hereto as Attachment “A” for Plaintiffs VPC and CVI are the
Plaintiffs’ outline of the case which includes a succinct factual summary of Plaintiffs’
causes of action, and a separate listing of all rules, regulations, statutes, ordinances,
and illustrative case law creating the legal duties relied on by Plaintiffs.



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                                         15.
       Attached hereto as Attachment “B-1” is State Defendants’ outline of the case
which includes a succinct factual summary of all general, special, and affirmative
defenses relied upon by Defendants, and a separate listing of all rules, regulations,
statutes, ordinances, and illustrative case law creating defenses relied on by State
Defendants.
       Intervenor-Defendants join in the State Defendant’s outline of the case except
for their second affirmative defense. Attached hereto as Attachment “B-2” is an
additional statement to supplement State Defendants’ outline.


                                         16.
       Attached hereto as Attachment “C” are the facts stipulated by the parties. No
further evidence will be required as to the facts contained in the stipulation and the
stipulation may be read into evidence at the beginning of the trial or at such other
time as is appropriate in the trial of the case. The parties will continue to negotiate
stipulated facts in order to streamline trial proceedings.


                                         17.
      The legal issues to be tried are as follows:


      By Plaintiffs:
      A. Whether sending a personalized absentee ballot application to specific
         individuals is protected core political speech or expressive conduct, which
         Defendants’ Prefilling Prohibition, O.C.G.A. § 21-2-381(a)(1)(C)(ii),
         infringes upon in violation of Plaintiffs’ First Amendment right to free
         speech.
      B. Whether sending absentee ballot applications to specific individuals is
         protected core political speech or expressive conduct, which Defendants’
         Mailing List Restriction, O.C.G.A. § 21- 2-381(a)(3)(A), infringes upon in
         violation of Plaintiffs’ First Amendment right to free speech.
      C. Whether Defendants have carried their burden to show that the Prefilling
         Prohibition is the least restrictive alternative to further compelling state
         interests.



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      D. Whether Defendants have carried their burden to show that the Mailing
         List Restriction is the least restrictive alternative to further compelling
         state interests.

      By State Defendants:
      A. Whether Plaintiffs engage in core political speech when they mail prefilled
         absentee-ballot applications to voters, aside from any communications
         Plaintiffs send along with those applications.
      B. Whether Plaintiffs engage in core political speech when they mail
         duplicate absentee-ballot applications to voters, aside from any
         communications Plaintiffs send along with those applications.
      C. Whether the Pre-Filling Prohibition is supported by compelling state
         interests or, alternatively, is rationally related to the State’s interests.

      D. Whether the Anti-Duplication Provision is supported by compelling state
         interests or, alternatively, is rationally related to the State’s interests.
      E. Whether the Pre-Filling Prohibition imposes a burden on any of
         Plaintiffs’ activities and, if so, the nature and magnitude of any such
         burden.

      F. Whether the Anti-Duplication Provision imposes a burden on any of
         Plaintiffs’ activities and, if so, the nature and magnitude of any such
         burden.


      By Intervenor-Defendants: Intervenor Defendants join in State Defendants
statement of the legal issues to be tried.


                                           18.
      Attached hereto as Attachment “D-1” for Plaintiffs VPC and CVI and
Attachment “D-2” for State Defendants, and Attachment “D-3” for Intervenor-
Defendants” are lists of all the witnesses for each party.
      Expert (any witness who might express an opinion under Federal Rule of
Evidence 702), impeachment and rebuttal witnesses whose use as a witness can be
reasonably anticipated must be included.


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        All of the parties may rely upon a representation by a designated party that a
witness will be present unless notice to the contrary is given fourteen (14) days prior
to trial to allow the other party(s) to subpoena the witness or to obtain the witness’
testimony by other means.
       Witnesses who are not included on the witness list (including expert,
impeachment and rebuttal witnesses whose use should have been reasonably
anticipated) will not be permitted to testify, unless expressly authorized by court
order based upon a showing that the failure to comply was justified.


                                          19.
       Attached hereto as Attachment “E-1” for Plaintiffs VPC and CVI and
Attachment “E-2” for State Defendants are lists of exhibits for those parties and
corresponding objections of the opposing party. To avoid duplication and aid in the
efficient resolution of this matter, Intervenor-Defendants do not anticipate offering
any exhibits of their own.
       The attached lists include all documentary and physical evidence that the
parties anticipate will be tendered at trial.
       Each party’s exhibits are numbered serially, beginning with 1, and without the
inclusion of any alphabetical or numerical subparts. A courtesy copy of each party’s
list will be submitted for use by the judge.
       Prior to trial, the parties shall mark the exhibits as numbered on the attached
lists by affixing numbered yellow stickers to Plaintiff’s exhibits, numbered blue
stickers to Defendant’s exhibits, and numbered white stickers to joint exhibits.
        For each exhibit list, the parties have included objections lodged by other
parties. Objections as to privilege, competency, and, to the extent possible, relevancy
of the exhibits are included. The parties will address any issues related to authenticity
at trial at the time the numbered exhibit is offered.
      Unless otherwise noted, copies rather than originals of documentary evidence
may be used at trial. Documentary or physical exhibits may not be submitted by
counsel after filing of this Pretrial Order, except upon consent of all the parties or
permission of the court. Exhibits so admitted must be numbered, inspected by
counsel, and marked with stickers prior to trial.
      Counsel will familiarize themselves with all exhibits (and the numbering
thereof) prior to trial. Counsel will not be afforded time during trial to examine
exhibits that are or should have been listed.


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                                         20.
Designated portions of the testimony of the persons listed below may be introduced
by deposition. Objections not filed by the date on which the case is first scheduled
for trial shall be deemed waived or abandoned. The parties are negotiating and will
submit objections to designations no later than two weeks before the pretrial
conference:


      By Plaintiffs: The designated portions of the testimony of the following
persons, attached as Attachment F-1, may be introduced by deposition: Alisa
Hamilton, Josh Findlay, T. Matthew Mashburn, and Ryan Caudelle.


       By State Defendants: State Defendants have not designated any portions of
deposition testimony, but they have cross designated portions of the deposition
transcripts Plaintiffs identified.


      By Intervenor-Defendants: Intervenor Defendants have not designated any
portions of deposition testimony. They join in State Defendants cross designations.


                                         21.
       Given the extensive briefing and the Court’s familiarity with the case, the
parties have elected to forgo filing comprehensive opening trial briefs at this time,
unless requested by the Court. However, it is Plaintiffs’ position that limited trial
briefing on the applications of the Burns v. Town of Palm Beach, 999 F.3d 1317 (11th
Cir. 2021), factors identified on pages 20-22 of the Court’s September 27, 2023
Order, ECF 179, would be appropriate. Defendants and Intervenor-Defendants take
no position. The parties reserve the right to file additional trial briefs during the
course of the trial should issues arise therein.
     Plaintiffs anticipate filing a motion in limine to address the admissibility and
completeness of a certain category of evidence identified on Defendants’ exhibit list.
      State Defendants anticipate filing a renewed motion to exclude certain
opinions of Plaintiffs’ expert Donald Green pursuant to Daubert v. Merrell Dow
Pharm., 509 U.S. 579 (1993). As reflected in the contemporaneously filed motion,
State Defendants request that this motion be due by December 22, 2023.
Additionally, State Defendants anticipate filing a motion in limine to exclude certain
exhibits that Plaintiffs have identified.

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      Intervenor Defendants anticipate filing a motion in limine to exclude certain
exhibits that Plaintiffs have identified.


                                           22.
      Because this case will not be tried to a jury, the parties do not intend to submit
requests to charge.


                                           23.
      Because this case will not be tried to a jury, the parties are not proposing a
special verdict form.


                                           24.
      Plaintiffs request thirty-five (35) minutes for opening statements and seventy
(70) minutes for closing arguments.
      State Defendants request thirty (30) minutes for opening statements and sixty
(60) minutes for closing arguments.
      In addition to any time requested by State Defendants, Intervenor Defendants
request that they be given five (5) minutes for an opening statement and ten (10)
minutes for a closing argument. Intervenor Defendants consent to Plaintiffs having
the same total amount of time as all Defendants.


                                           25.
       Because this case is designated for trial to the Court without a jury, counsel
shall submit proposed findings of fact and conclusions of law at a time after the
conclusion of trial.


                                           26.
       Pursuant to LR 16.3, lead counsel and persons possessing settlement authority
to bind the parties met by video conference on November 30, 2023 to discuss in
good faith the possibility of settlement of this case. The Court has not discussed
settlement of this case with counsel. It appears at this time that there is no possibility
of settlement.


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                                        30.
       Each of the undersigned counsel for the parties hereby consents to entry of the
foregoing pretrial order, which has been prepared in accordance with the form
pretrial order adopted by this court.


/s/ Danielle Lang______________
Counsel for Plaintiffs


/s/ Gene C. Schaerr____________
Counsel for State Defendants


/s/ Gilbert C. Dickey____________
Counsel for Intervenor-Defendants




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                      CERTIFICATE OF COMPLIANCE

      The undersigned herby certifies that the foregoing document has been

prepared in Times New Roman 14, a font and type selection approved by the Court

in LR 5.1(B), NDGa.

                                           /s/ Danielle Lang
                                           Danielle Lang




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      ATTACHMENT A
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      ATTACHMENT A – PLAINTIFFS’ STATEMENT OF THE CASE
    1. Plaintiffs’ Succinct Factual Statement
       Plaintiffs Voter Participation Center and Center for Voter Information 1

(collectively, “Plaintiffs” or “VPC/CVI”) allege that certain provisions of Georgia

Senate Bill 202 (“SB 202”) violate the First Amendment to the United States

Constitution. Specifically, Plaintiffs challenge two provisions of SB 202: (1) the

Prefilling Prohibition, 2 which provides that “[n]o person or entity . . . shall send any

elector an absentee ballot application that is prefilled with the elector’s required

information.” O.C.G.A. § 21-2-381(a)(1)(C)(ii), and (2) the Mailing List

Restriction, 3 which states that “[a]ll persons or entities . . . that send applications for

absentee ballots to electors in a primary, election, or runoff shall mail such

applications only to individuals who have not already requested, received, or voted

an absentee ballot in the primary, election, or runoff.” O.C.G.A. § 21-2-381(a)(3)(A).

Collectively, the Prefilling Prohibition and the Mailing List Restriction are the

“Ballot Application Restrictions.” 4 Plaintiffs allege that the Ballot Application



1
  Plaintiff VoteAmerica was dismissed by stipulation of the parties on September
26, 2022. Doc. 142.
2
  Defendants refer to this as the “Prefilling Provision.”
3
  Defendants refer to this as the “Anti-Duplication Provision.”
4
  Defendants refer to these as the “Ballot Application Provisions.” Plaintiffs
initially challenged a third SB 202 provision pertaining to a required disclaimer on
absentee ballot applications distributed by third parties. The parties have since
stipulated that Plaintiffs’ claims related to that third provision were mooted by
subsequent legislation and administrative regulations. ECF 176.
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Restrictions infringe their constitutionally protected speech and expressive conduct

and are not the least restrictive means of furthering a compelling state interest.

      All eligible Georgians who seek to vote by absentee ballot must first complete

and submit an absentee ballot application to their appropriate election official. To be

accepted, an applicant must complete the form with their personal information as it

appears in the Georgia voter file. The voter’s application must also include the

voter’s wet signature, meaning that a voter must print or otherwise obtain a hard

copy of the application to sign by hand and submit. Depending upon the county

election office’s procedures and timing for processing absentee ballot applications,

an election office’s acceptance of the application may be reflected in a publicly

available absentee voting file.

      To encourage and assist Georgians to vote by absentee mail ballot, numerous

third parties, including candidates and political campaigns as well as civic

engagement organizations like Plaintiffs, distribute hard copies of the required

application forms, encouraging voters who do not have, and in some cases cannot

obtain, application forms to apply to vote by mail. Plaintiffs believe they can most

effectively inform and encourage eligible Georgians to trust in absentee voting and

assist them to easily participate in the political process by distributing absentee ballot

applications personalized with required voter information as it appears in the

Georgia voter file. Plaintiffs distributed personalized absentee ballot applications

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during the 2018 and 2020 election cycles, of which hundreds of thousands of were

submitted by Georgians applying for absentee mail ballots.

      Pursuant to the Prefilling Prohibition, Plaintiffs are no longer permitted to

distribute personalized absentee ballot applications urging specific voters to vote by

mail. This both directly restricts the content of Plaintiffs’ pro-voting and pro-mail

voting communications and inhibits the effectiveness of Plaintiffs’ message that

requesting an absentee ballot is easy, reliable, and encouraged.

      The Mailing List Restriction likewise inhibits Plaintiffs’ ability to

communicate its pro-mail voting message by requiring them to “compare [their] mail

distribution list with” the “most recent information available about which electors”

have already requested, received, or cast an absentee ballot, then “remove the names

of such electors.” O.C.G.A. § 21-2-381(a)(3)(A). The statute specifies that entities

can rely on information that is five business days old, id., but does not account for

the imperfections in any such lists, nor the size of mailer programs run in a state with

over seven million registered voters. Both imperfections in the publicly available

information on voters who have applied to vote by mail as well as the size of

Plaintiffs’ direct mail programs make conducting midstream, five-day adjustments

logistically infeasible. Failure to strictly comply with the provisions of the Mailing

List Restriction can result in a $100 fine per violation and potential criminal

penalties, including a misdemeanor with a sentence of up to twelve months

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confinement. O.C.G.A. §§ 21-2-381(a)(3)(B), 21-2-598, 21-2-603, 21-2-599.

Avoiding liability under these provisions requires Plaintiffs to minimize their

communications by sending only a single copy of the absentee ballot application

form at the very beginning of the period during which voters can apply for an

absentee ballot for a given election. This reduces Plaintiffs’ overall quantum of

speech related to mail voting and limits their most effective form of communication

on this subject to a time period months before many voters are considering voting

by mail.

      The State purports that the Ballot Application Restrictions serve the state’s

interests in decreasing voter confusion, combatting complaints of fraud, and

increasing election integrity. In support of these interests, the State Defendants put

forward a few dozen complaints submitted by individual voters that largely consist

of disagreement with Plaintiffs’ message that the recipient should apply to vote by

mail, distrust in the election system at large, and complaints related to receiving

multiple absentee ballot applications in the mail. The existence of a small number of

voter complaints pertaining to absentee ballot applications does not meet the State

Defendants’ burden to show that the restrictions are narrowly tailored to a

compelling state interest.

      The Ballot Application Restrictions do not address the majority of voter

concerns State Defendants highlight. The Mailing List Restriction does not limit the
                                          4
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number of applications that can be sent to voters who do not intend to vote absentee.

Neither does it prevent a voter from receiving applications from multiple

organizations or from the same organization before they submit a completed

application. Likewise, the Prefilling Prohibition is not the least restrictive means of

addressing the issue of errors in personalized applications where the personalization

is based on the State’s own voter list to prefill the absentee ballot applications that is

sent to an eligible, registered voter. Rather than prohibiting certain content and

reducing the effectiveness of Plaintiffs’ communications through the Prefilling

Prohibition, the State could reduce the prevalence of errors in personalized ballot

applications by improving the accuracy of its own voter registration rolls.

Additionally, the State could decrease voter confusion by only prohibiting the

distribution of applications that are prefilled with information not found in the state’s

voter file.

       As Secretary of State of Georgia, Defendant Brad Raffensperger is the chief

elections official in the state and is responsible for overseeing and administering

Georgia’s election laws, including the challenged SB 202 provisions. SB 202 assigns

Defendant Raffensperger authority as Secretary of State to implement aspects of

Georgia’s absentee ballot application system.

       As members of the State Election Board, Defendants Matthew Mashburn,

Sara Tindall Ghazal, Edward Lindsey, and Janice Johnston are responsible for
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investigating and authorizing the Secretary of State to investigate the administration

of Georgia’s election laws, including the challenged SB 202 provisions, and to report

violations of those laws to either the Georgia Attorney General or the appropriate

district attorney. SB 202 specifically authorizes Defendants Mashburn, Tindall

Ghazal, Lindsey, and Johnston to promulgate rules and regulations for the

implementation of the Prefilling Prohibition and to impose financial sanctions for

violations of the Mailing List Restriction.

   2. Relevant Authority

      a. First Amendment Protections for Core Political Speech

      The First Amendment to the United States Constitution, made applicable to

the states by the Fourteenth Amendment, provides that “Congress shall make no law

. . . abridging the freedom of speech.” U.S. Const., amend. I. Speech concerning the

electoral process receives the utmost constitutional protection. Brown v. Hartlage,

456 U.S. 45, 52-53 (1982); see also R.A.V. v. City of St. Paul, 505 U.S. 377, 422

(1992) (“Core political speech occupies the highest, most protected position” in the

hierarchy of First Amendment protection).

      The First Amendment was “fashioned to assure unfettered interchange of

ideas for the bringing about of political and social changes,” Meyer v. Grant, 486

U.S. 414, 421 (1988), and courts must “be vigilant . . . to guard against undue

hindrances to political conversations and the exchange of ideas,” Buckley v. Am.

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Constitutional Law Found., Inc., 525 U.S. 182, 191-92 (1999). Accordingly,

protected political speech is broadly defined, such as “the expression of a desire for

political change,” “communication of information,” and “dissemination and

propagation of views and ideas” about the electoral process. Meyer, 486 U.S. at 421-

22 & n.5 (citing Schaumburg v. Citizens for a Better Env’t, 444 U.S. 620, 632

(1980)). Core political speech includes, but is not limited to, discussion of public

issues and debate on the qualifications of candidates, political expression designed

to assure the “unfettered interchange of ideas for the bringing about of political and

social changes desired by the people,” and the discussion of governmental affairs.

McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 346-47 (1995). Core political

speech “need not center on a candidate for office,” id., rather, it involves “interactive

communication concerning political change.” Buckley, 525 U.S. at 186.

      When a law burdens core political speech, strict scrutiny is the appropriate

standard of review. Weaver v. Bonner, 309 F.3d 1312, 1319 (11th Cir. 2002); Buckley,

525 U.S. at 207. Strict scrutiny likewise applies when a government restriction “has

the inevitable effect of reducing the total quantum of speech on a public issue.”

Meyer, 486 U.S. at 423.

      Under strict scrutiny, the government bears the burden to show that the

challenged law is “(1) narrowly tailored, to serve (2) a compelling state interest.”

Buckley, 525 U.S. at 207. Narrow tailoring requires the government to employ the

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least restrictive alternative to further its interest. United States v. Playboy Ent. Grp.,

Inc., 529 U.S. 803, 813 (2000). Laws that are “seriously underinclusive” or

“seriously overinclusive” fail to survive the narrow tailoring analysis. Brown v. Ent.

Merch. Ass’n, 564 U.S. 786, 805 (2011). “Underinclusiveness raises serious doubts

about whether the government is in fact pursuing the interest it invokes.” Id. at 802.

Meanwhile, overinclusiveness raises questions about whether a challenged law

“encompasses more protected conduct than necessary to achieve” the state’s asserted

interest. Church of Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 578

(1993).

      b. First Amendment Protections for Expressive Conduct

      In addition to spoken and written speech, the First Amendment protects

expressive conduct. Texas v. Johnson, 491 U.S. 397, 404 (1989). “[A] narrow,

succinctly articulable message is not a condition of constitutional protection.”

Holloman ex rel. Holloman v Harland, 370 F.3d 1252, 1270 (11th Cir. 2004)

(quoting Hurley v. Irish-Am., Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S. 557,

569 (1995)). “Thus, in determining whether conduct is expressive,” courts ask

“whether the reasonable person would interpret it as some sort of message, not

whether an observer would necessarily infer a specific message.” Id. In expressive

conduct cases, “context matters,” because the “circumstances surrounding an event

help a reasonable observer discern the dividing line between expressive conduct and

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everyday conduct.” Fort Lauderdale Food Not Bombs v. City of Fort Lauderdale,

901 F.3d 1235, 1237, 1241 (11th Cir. 2018). Conduct does not “lose its expressive

nature just because it is also accompanied by other speech.” Id at 1243-44. “The

critical question is whether the explanatory speech is necessary for the reasonable

observer to perceive a message from the conduct.” Id. at 1244.

      When considering the context surrounding expressive conduct, courts in the

Eleventh Circuit consider the following factors: (1) whether the plaintiff intends to

distribute literature or hang banners in connection with the expressive activity, (2)

whether the activity will be open to all, (3) whether the activity takes place in a

traditional public forum, (4) whether the activity addresses an issue of public

concern, and (5) whether the activity “has been understood to convey a message over

the millennia.” Burns v. Town of Palm Beach, 999 F.3d 1317, 1344-45 (11th Cir.

2021). Where “the surrounding circumstances would lead the reasonable observer to

view the conduct as conveying some sort of message” the conduct is “on the

expressive side of the ledger.” Fort Lauderdale Food Not Bombs, 901 F.3d at 1242.

Mailing a personalized application is “inherently expressive conduct that the First

Amendment embraces,” because “only an organization which intends to convey

such a [pro-mail voting message] would expend its resources to personalize and

distribute’ mail ballot applications.” VoteAmerica v. Schwab, No. 21-2253-KHV,




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2023 WL 3251009, at *9 (D. Kan. May 4, 2023) (citing League of Women Voters of

Fla. v. Cobb, 447 F. Supp. 2d 1314 (S.D. Fla. 2006).

        When “the component parts of a single speech are inextricably intertwined,

[courts] cannot parcel out the speech, applying one test to one phrase and one test to

another phrase[,]” as such “an endeavor would be both artificial and impractical.”

Riley v. Nat’l Fed’n of the Blind of N.C., Inc., 487 U.S. 781, 796 (1988). When

conduct is “characteristically intertwined with informative and perhaps persuasive

speech seeking support for particular causes or for particular views on economic,

political, or social issues[,]” strict scrutiny should apply. See Schaumburg, 444 U.S.

at 632. Expressive conduct warrants the same rigorous analysis under strict scrutiny

as other forms of protected First Amendment speech. Schwab, 2023 WL 3251009.



        A list of the relevant rules, regulations, statutes, and illustrative case law is as

follows:

Cases

   • American Association of People with Disabilities v. Herrera, 690 F. Supp. 2d
     1183 (D.N.M. 2010)
   • Anderson v. Celebrezze, 460 U.S. 780 (1983)
   • Arizona Alliance for Retired Americans v. Clean Elections USA, No. 22-cv-
     01823, 2022 WL 15678694 (D. Ariz. Oct. 28, 2022)
   • Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289, 302 (1979)
   • Barker v. Hazeltine, 3 F. Supp. 2d 1088 (D.S.D. 1998)
   • Bolger v. Youngs Drug Products Corp., 463 U.S. 60 (1983)
   • Boy Scouts of America v. Dale, 530 U.S. 640 (2000)
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• Broadrick v. Oklahoma, 413 U.S. 601 (1973)
• Brown v. Hartlage, 456 U.S. 45 (1982)
• Buckley v. American Constitutional Law Foundation, Inc., 525 U.S. 182
  (1999)
• Burdick v. Takushi, 504 U.S. 428 (1992)
• Burns v. Town of Palm Beach, 999 F.3d 1317, 1344-45 (11th Cir. 2021)
• California Democratic Party v. Jones, 530 U.S. 567 (2000)
• Citizens for Legislative Choice v. Miller, 144 F.3d 916 (6th Cir. 1998)
• Citizens for Police Accountability Political Committee v. Browning, 572 F.3d
  1213 (11th Cir. 2009)
• Citizens United v. FEC, 558 U.S. 310 (2010)
• Clark v. Community for Creative Non–Violence, 468 U.S. 288 (1984)
• Coley-Pearson v. Martin, No. 5:20-cv-151, 2021 WL 4782272 (S.D. Ga. Oct.
  13, 2021)
• Common Cause/Georgia v. Billups, 554 F.3d 1340, 1350 (11th Cir. 2009)
• Consolidated Edison Co. of New York v. Public Service Commission of New
  York, 447 U.S. 530 (1980)
• Cressman v. Thompson, 798 F.3d 938 (10th Cir. 2015)
• Dallas v. Stanglin, 490 U.S. 19 (1989)
• Democracy North Carolina v. North Carolina State Board of Elections, 476
  F. Supp. 3d 158 (M.D.N.C. 2020)
• Democratic Executive Committee of Florida v. Lee, 915 F.3d 1312 (11th Cir.
  2019)
• Doe v. Marshall, 367 F. Supp. 3d 1310 (M.D. Ala. 2019)
• Elrod v. Burns, 427 U.S. 347 (1976)
• Eu v. San Francisco County Democratic Central Committee, 489 U.S. 214
  (1989)
• Fla. State Conf. of NAACP v. Browning, 522 F.3d 1153, 1165 (11th Cir. 2008)
• Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167,
  18081 (2000)
• Fort Lauderdale Food Not Bombs v. Fort Lauderdale, 901 F.3d 1235 (11th
  Cir. 2018)
• Gralike v. Cook, 191 F.3d 911 (8th Cir. 1999)
• Healy v. James, 408 U.S. 169 (1972)
• Hurley v. Irish-American Gay, Lesbian & Bisexual Group of Boston, 515 U.S.
  557 (1995)
• In re Georgia Senate Bill 202, No. 1:21-CV-01229-JPB, 2022 WL 3573076
  (N.D. Ga. Aug. 18, 2022)

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• Kusper v. Pontikes, 414 U.S. 51, 58-59 (1973)
• League of Women Voters of Florida, Inc. v. Detzner, 314 F. Supp. 3d 1205
  (N.D. Fla. 2018)
• League of Women Voters of Tennessee v. Hargett, 400 F. Supp. 3d 706 (M.D.
  Tenn. 2019)
• League of Women Voters of Florida v. Cobb, 447 F. Supp. 2d 1314 (S.D. Fla.
  2006)
• Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)
• Martin v. City of Struthers, Ohio, 319 U.S. 141 (1943)
• Masterpiece Cakeshop, Ltd. v. Colorado Civil Rights Commission, 138 S. Ct.
  1719 (2018)
• McClendon v. Long, 22 F.4th 1330 (11th Cir. 2022)
• McCullen v. Coakley, 573 U.S. 464 (2014)
• McIntyre v. Ohio Election Commission, 514 U.S. 334 (1995)
• Meyer v. Grant, 486 U.S. 414 (1988)
• NAACP v. Button, 371 U.S. 415 (1963)
• National Institute of Family Life Advocates v. Becerra, 138 S. Ct. 2361 (2018)
• NetChoice, LLC v. Attorney General, Florida, 34 F.4th 1196 (11th Cir. 2022)
• Otto v. City of Boca Raton, 981 F.3d 854 (11th Cir. 2020)
• Priorities USA v. Nessel, 462 F. Supp. 3d 792 (E.D. Mich. 2020)
• Project Vote v. Blackwell, 455 F. Supp. 2d 694 (N.D. Ohio 2006)
• Reed v. Town of Gilbert, 576 U.S. 155 (2015)
• Riley v. National Federation of the Blind of North Carolina, Inc., 487 U.S.
  781 (1988)
• Schaumburg v. Citizens for a Better Environment, 444 U.S. 620 (1980)
• SD Voice v. Noem, 432 F. Supp. 3d 991 (D.S.D. 2020)
• Sorrell v. IMS Health Inc., 564 U.S. 552 (2011)
• Spence v. Washington, 418 U.S. 405 (1974)
• Texas v. Johnson, 491 U.S. 397, 404 (1989)
• Tillman v. Miller, No. 1:95-CV-1594-CC, 1996 WL 767477 (N.D. Ga. Sept.
  30, 1996)
• Timmons v. Twin Cities Area New Party, 520 U.S. 351 (1997)
• Troster v. Pennsylvania State Department of Corrections, 65 F.3d 1086 (3d
  Cir. 1995)
• Turner Broadcasting System, Inc. v. Federal Communications Commission,
  512 U.S. 622 (1994)
• U.S. West v. FCC, 182 F.3d 1224 (10th Cir. 1999)
• Village of Schaumburg v. Citizens for a Better Env’t, 444 U.S. 620, 632 (1980)
                                     12
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   • Virginia v. Am. Booksellers Ass’n, Inc., 484 U.S. 383, 393 (1988)
   • VoteAmerica v. Schwab, No. CV 21-2253-KHV, 2023 WL 3251009 (D. Kan.
     May 4, 2023)
   • VoteAmerica v. Schwab, 576 F. Supp. 3d 862 (D. Kan. 2021)
   • Voting for America, Inc. v. Steen, 732 F.3d 382 (5th Cir. 2013)
   • Weaver v. Bonner, 309 F.3d 1312 (11th Cir. 2002)
   • Wollschlaeger v. Governor, Florida, 848 F.3d 1293 (11th Cir. 2017)
   • Wood v. Meadows, 117 F.3d 770 (4th Cir. 1997)
   • Worley v. Florida Secretary of State, 717 F.3d 1238 (11th Cir. 2013)
   • Zeller v. The Florida Bar, 909 F. Supp. 1518 (N.D. Fla. 1995)
Statutes, Rules, and Constitutional Provisions
   •   Ga. Comp. R. & Regs 183-1-14-.12(2)
   •   O.C.G.A. § 21-2-31
   •   O.C.G.A. § 21-2-381(a)(3)(A)
   •   O.C.G.A. § 21-2-381(a)(3)(B)
   •   O.C.G.A. § 21-2-598
   •   O.C.G.A. § 21-2-599
   •   O.C.G.A. § 21-2-603
   •   U.S. Const. amend. I
   •   U.S. Const. amend. XIV




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      ATTACHMENT B-1
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                                   EXHIBIT B-1

                      State Defendants’ Outline of the Case

      Statement: Plaintiffs filed this case on April 7, 2021, seeking injunctive relief
regarding multiple provisions of Senate Bill 202. According to Plaintiffs, each
challenged provision violated the First Amendment to the United States
Constitution. Since then, Plaintiffs’ challenges have narrowed.

       On September 26, 2022, Plaintiff VoteAmerica dismissed its claims. See Jt.
Stip. of Voluntary Dismissal of Plaintiff VoteAmerica (ECF No. 142). On June 9,
2023, the remaining Plaintiffs dismissed their claims challenging SB 202’s
disclaimer provision found at O.C.G.A. § 21-2-381(a)(1)(C)(ii). See Jt. Stip. of
Mootness of Certain Claims (ECF No. 176). And, on September 27, 2023, this Court
granted summary judgment to State Defendants on Plaintiffs’ freedom of association
claims. Order at 29–36 (ECF No. 179). Similarly, the Court granted summary
judgment to State Defendants on Plaintiffs’ overbreadth claim. See id. at 36–38.

       But the Court denied summary judgment to State Defendants on Plaintiffs’
free speech claim challenging the Prefilling Prohibition, O.C.G.A. § 21-2-
381(a)(1)(C)(ii), and the Anti-Duplication Provision, id. § 21-2-381(a)(3)(A). See
Order at 18–29 (ECF No. 179). Accordingly, this is the only claim remaining in this
action.

      State Defendants assert that this claim fails because Plaintiffs do not engage
in protected speech and, moreover, both the Prefilling Prohibition and the Anti-
Duplication Provision are supported by the State’s compelling interests in preventing
voter fraud or its appearance, preventing voter confusion, increasing voter
confidence, and enhancing electoral efficiency.

      Affirmative defenses:

      1.    Plaintiffs’ Complaint fails to state a claim upon which relief may be
            granted.

      2.    Plaintiffs lack standing to bring this action.

      3.    Plaintiffs’ claims are barred by sovereign immunity and the Eleventh
            Amendment to the U.S. Constitution.
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4.    Plaintiffs have not been subjected to the deprivation of any right,
      privilege, or immunity under the Constitution or laws of the United
      States.

5.    Plaintiffs’ requested relief is barred by the Purcell principle.

Relevant rules, regulations, statutes, ordinances, and illustrative case
law:

1.    Am. Party of Tex. v. White, 415 U.S. 767 (1974)

2.    Anderson v. Celebrezze, 460 U.W. 780 (1983)

3.    Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321 (2021)

4.    Burdick v. Takushi, 504 U.S. 428 (1992)

5.    Clark v. Takata Corp., 192 F.3d 750 (7th Cir. 1999)

6.    Cooper v. Marten Transp., Ltd., No. 1:10-cv-3044-JOF, 2012 WL
      12835704 (N.D. Ga. June 4, 2012)

7.    Crawford v. Marion Cnty. Election Bd., 553 U.S. 181 (2008)

8.    Curling v. Raffensperger, 50 F.4th 1114 (11th Cir. 2022)

9.    Daubert v. Merrill Dow Pharms., Inc., 509 U.S. 579 (1993)

10.   Democracy N.C. v. N.C. State Bd. of Elections, 476 F. Supp. 3d 158
      (M.D.N.C. 2020)

11.   Fed. R. Evid. 401

12.   Fed. R. Evid. 403

13.   Fed. R. Evid. 602

14.   Fed. R. Evid. 702

15.   Fed. R. Evid. 703

16.   Fed. R. Evid. 801

17.   Fed. R. Evid. 803


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18.   Fed. R. Evid. 807

19.   Fed. R. Evid. 901

20.   Feldman v. Ariz. Sec’y of State’s Off., 843 F.3d 366 (9th Cir. 2016)

21.   Fry v. Daimler Trucks N. Am. LLC, No. 1:18-cv-04827-JPB, 2021 WL
      4241658 (N.D. Ga. Mar. 3, 2021)

22.   Jacobson v. Fla. Sec’y of State, 974 F.3d 1236 (11th Cir. 2020)

23.   Mazo v. New Jersey Sec’y of State, No. 21-2630, 2022 WL 17182673
      (3d Cir. Nov. 23, 2022)

24.   McCorvey v. Baxter Healthcare Corp., 298 F.3d 1253 (11th Cir. 2002)

25.   McDowell v. Brown, 392 F.3d 1283, 1298 (11th Cir. 2004)

26.   MidAmerica C2L Inc. v. Siemens Energy, Inc., 25 F.4th 1312 (11th Cir.
      2022)

27.   New Ga. Project v. Raffensperger, 484 F. Supp. 3d 1265 (N.D. Ga.
      2020)

28.   New Ga. Project v. Raffensperger, 976 F.3d 1278 (11th Cir. 2020)

29.   O.C.G.A. § 21-2-381

30.   Rumsfeld v. FAIR, 547 U.S. 47 (2006)

31.   Texas v. Johnson, 491 U.S. 397 (1989)

32.   U.S. Const. Amendment I

33.   United States v. Frazier, 387 F.3d 1244 (11th Cir. 2004)

34.   Voting for Am., Inc. v. Steen, 732 F.3d 382 (5th Cir. 2013)




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      ATTACHMENT B-2
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                                  EXHIBIT B-2

                  Intervenor-Defendants’ Outline of the Case

       Statement: Intervenor-Defendants join the State Defendants’ Outline of the
Case (Attachment B-1), except as to the second affirmative defense claiming that
Plaintiffs lack standing. Intervenor-Defendants submit the following additional
statement:

      On April 14, 2021, the Republican National Committee, National Republican
Senatorial Committee, National Republican Congressional Committee, and the
Georgia Republican Party, Inc. moved to intervene in this case (Doc. 25). On June
4, the Court granted the motion to intervene and directed the clerk to add the
Intervenors as Defendants in this case (Doc. 50). On June 21, Intervenor-Defendants
moved to dismiss Plaintiffs’ complaint for failure to state a claim (Doc. 53). The
Court denied the motion to dismiss on December 9 (Doc. 57).

       On April 26, 2022, Plaintiffs moved for a preliminary injunction (Doc. 103),
and Intervenor-Defendants filed a response in opposition (Doc. 114). The Court held
a hearing on June 9, and denied the motion on June 30 (Doc. 131). In December, the
Intervenor-Defendants joined the State Defendants’ motion for summary judgment
(Docs. 149, 151), which the Court granted in part and denied in part (Doc. 179).
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      ATTACHMENT C
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                         ATTACHMENT C
                CONSOLIDATED STIPULATIONS OF FACT

       1.     Defendant Brad Raffensperger is the Georgia Secretary of State and is
named in his official capacity.
       2.     Defendant Raffensperger is an elected official in the state of Georgia.
       3.     Defendant Raffensperger has been designated pursuant to the Help
America Vote Act as the Chief Election Official for the State of Georgia responsible
for coordinating the responsibilities of the State under the Help America Vote Act.
       4.     Defendant Sara Tindall Ghazal is a member of the State Election Board
and is named in her official capacity.
       5.     Defendant Matthew Mashburn is a member of the State Election Board
and is named in his official capacity.
       6.     Defendant Edward Lindsey is a member of the State Election Board
and is named in his official capacity.
       7.     Defendant Janice Johnston is a member of the State Election Board and
is named in her official capacity.
       8.     Plaintiff Voter Participation Center (“VPC”) is a Washington, D.C.-
based 501(c)(3) nonprofit, nonpartisan organization founded in 2003.
       9.     Plaintiff Center for Voter Information (“CVI”) is a Washington, D.C.-
based 501(C)(4) nonprofit, nonpartisan organization and a sister organization of
VPC (collectively “Plaintiffs” or “VPC/CVI”).
       10. Intervenor-Defendant the Republican National Committee is a
national committee that supports Republican candidates for public office at all
levels and coordinates fundraising and election strategy.
       11. Intervenor-Defendant the National Republican Senatorial Committee
is a national political committee that works to elect Republicans to the U.S. Senate.
       12. Intervenor-Defendant the National Republican Congressional
Committee is a national political committee that works to elect Republicans to the
U.S. House.
       13. Intervenor-Defendant the Georgia Republican Party is a political party
that works to promote Republican values and to assist Republican candidates in
obtaining election to partisan federal, state, and local office.
       14. Since 2005, Georgia has had no-excuse absentee voting, allowing any
qualified voter to apply for an absentee ballot.
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       15. During an election cycle, the absentee voter file containing information
from the voter-registration system refreshes daily and is publicly available, absent
any technical malfunction.
       16. Prior to the 2022 election cycle, third-party organizations like Plaintiffs
sent absentee-ballot applications to voters in many states, including Georgia.
       17. Plaintiffs sent absentee voting mailers consisting of cover letters,
absentee-ballot applications, and pre-paid return envelopes to Georgia voters during
the 2020 and 2022 election cycle.
       18. With each absentee-ballot application they send to voters in Georgia,
Plaintiffs include a cover letter that explains why they believe absentee voting is
important and encouraging the recipient to complete and return the application.
       19. Plaintiffs previously sent absentee-ballot applications to voters in
Georgia with certain personal information of the voter’s included.
       20. Plaintiffs previously sent multiple absentee-ballot applications to the
same voters in Georgia.
       21. All registered Georgia voters who still maintain the qualifications to
vote in Georgia are eligible to vote absentee by mail.
       22. To vote absentee by mail in Georgia, a voter needs to submit a request
for an absentee mail ballot to their election office.
       23. During the 2020 primaries, Defendant Raffensperger’s office sent
prefilled applications to every active registered voter in the state in response to the
COVID-19 pandemic using emergency federal funds.
       24. Georgia maintains “A Guide for Registered Voters” on its website,
which includes a section titled: “An Overview of Georgia’s Absentee Voting
Process.” See Elections Div., Ga. Sec’y of State, A Guide for Registered Voters
(Mar. 30, 2022).
       25. This Guide provides instructions on how to apply for an absentee ballot,
how to complete it, and how to submit it. See id.
       26. SB 202 was enacted on March 25, 2021, and parts of it became effective
on July 1, 2021.
       27. SB 202’s Prefilling Prohibition prohibits sending any absentee ballot
applications that are prefilled with the electors’ required information.




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      ATTACHMENT D-1
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                             Testifying as a fact witness. Expected to testify
                             about Plaintiffs’ operations and the effects of
                             the challenged restrictions on Plaintiffs’
                             operations.
Ryan Caudelle                N/a

                             Testifying as a fact witness. Expected to testify
                             about the Intervenor-Defendants' third party
                             absentee ballot application distribution.
Blake Evans                  N/a

                             Testifying as a fact witness. Expected to testify
                             about the state’s procedures for processing and
                             verifying absentee ballot applications and
                             implementation of the challenged restrictions.
Josh Findlay                 N/a

                             Testifying as a fact witness. Expected to testify
                             about the Intervenor-Defendants' third party
                             absentee ballot application distribution.
Frances Watson               N/a

                             Testifying as a fact witness. Expected to testify
                             about the State’s enforcement of the challenged
                             restrictions.
Ryan Germany                 ECF No. 113-2.

                             Testifying as a fact witness. Expected to testify
                             about the state’s procedures for processing and
                             verifying absentee ballot applications, the
                             implementation of the challenged restrictions,
                             and the passage of SB 202.
Alisa Hamilton               N/a

                             Testifying as a fact witness. Expected to testify
                             about the interviews undertaken on behalf of
                             expert witness Dr. Green.
T. Matthew Mashburn          N/a
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                             Testifying as a fact witness. Expected to testify
                             about the state’s procedures for processing and
                             verifying absentee ballot applications, the
                             implementation of the challenged restrictions,
                             and the passage of SB 202.
Brandon Waters               N/a

                             Testifying as a fact witness. Expected to testify
                             about the Intervenor-Defendants' third party
                             absentee ballot application distribution.
Justin Grimmer               ECF No. 113-4

                             Testifying as an expert witness. Expected to
                             testify as a rebuttal expert to Dr. Green.
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      ATTACHMENT D-2
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                                   EXHIBIT D-2

                          State Defendants’ Witness List

State Defendants anticipate that the following witnesses will testify at trial:

   • Ryan Germany: Testifying as representative of the Secretary of State’s office
     regarding the reasons for the Pre-Filling Prohibition and the Anti-
     Duplication Provision, how those provisions are applied, and the impact of
     any injunction.

   • Frances Watson: Testifying about the reasons for the Pre-Filling Prohibition
     and the Anti-Duplication Provision, how those provisions are applied, and
     the impact of any injunction.

   • Blake Evans: Testifying about the reasons for the Pre-Filling Prohibition and
     the Anti-Duplication Provision, how those provisions are applied, and the
     impact of any injunction.

   • Brandon Waters: Testifying about ways Plaintiffs could comply with the
     Pre-Filling Prohibition and Anti-Duplication Provision.

   • Justin Grimmer: Testifying about the effects of the Pre-Filling Prohibition
     and the Anti-Duplication Provision.

   • Tom Lopach: Testifying about Plaintiffs’ operations and mission, and about
     the impact of the Pre-Filling Prohibition and the Anti-Duplication Provision
     on those operations.

State Defendants anticipate that the following witnesses may testify at trial:

   • Matthew Mashburn: Testifying about the reasons for the Pre-Filling
     Prohibition and the Anti-Duplication Provision, how those provisions are
     applied, and the impact of any injunction.

   • Donald Green: Testifying about ways Plaintiffs could comply with the Pre-
     Filling Prohibition and Anti-Duplication Provision.

   • Alisa Hamilton: Testifying about the ways that Plaintiffs’ expert obtained
     and analyzed data.

   • Any witnesses identified on Plaintiffs’ witness list.
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      ATTACHMENT D-3
       Case 1:21-cv-01390-JPB Document 186 Filed 12/04/23 Page 42 of 76




                                   EXHIBIT D-3

                       Intervenor Defendants’ Witness List

Intervenor Defendants do not anticipate calling any witnesses to testify at trial.

Intervenor Defendants anticipate that the following witnesses may testify at trial:

   •   Ryan Germany
   •   Frances Watson
   •   Blake Evans
   •   Brandon Waters
   •   Justin Grimmer
   •   Tom Lopach
   •   Matthew Mashburn
   •   Donald Green
   •   Alisa Hamilton
   •   Karuna Koppula
   •   Nancy Leeds
   •   Ryan Caudelle
   •   Josh Findlay
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      ATTACHMENT E-1
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                ATTACHMENT E-1 - Plaintiffs' Exhibit List
 Exhibit                                                     Defendants'
                      Document Description
 Number                                                       Objections
PX 1     Current Georgia Absentee Ballot Application     No objection
         (retrieved November 24, 2023)
PX 2     Blank Absentee Ballot Application for Third     No objection
         Party Use (pre-2022 revisions)
PX 3     Absentee Ballot Application Cure Affidavit Form No objection

PX 4      Def. Responses and Objections to Plaintiffs' First No objection
          Interrogatories
PX 5      Defendants’ Responses and Objections to            No objection
          Plaintiffs' First Requests for Admissions
PX 6      183-1-14-.12. Eligibility of Application for       No objection
          Absentee Ballot.
PX 7      SB 202                                             No objection
PX 8      Ga. Code Ann. 21-2-31                              No objection
PX 9      July 2018 Correspondence Between CVI and           Relevance (FRE 401);
          Chris Harvey (SOS)                                 Hearsay (802)
PX 10     November 13, 2018 Correspondence Between           Relevance (FRE 401);
          CVI and Chris Harvey (SOS)                         Hearsay (802)
PX 11     June 5, 2020 Email chain re: scanned signature     Relevance (FRE 401);
          for absentee ballot application sent using         Hearsay (802)
          VoteAmerica
PX 12     June 25, 2019 correspondence between VPC/CVI Relevance (FRE 401);
          and Chris Harvey (SOS)                             Hearsay (802)
PX 13     August 2, 2019 correspondence between              Relevance (FRE 401);
          VPC/CVI and Chris Harvey (SOS)                     Hearsay (802)
PX 14     October 29, 2019 correspondence between            Relevance (FRE 401);
          VPC/CVI and Chris Harvey (SOS)                     Hearsay (802)
PX 15     April 23, 2020 Correspondence Between              Relevance (FRE 401);
          VPC/CVI and Chris Harvey (SOS)                     Hearsay (802)
PX 16     April 24, 2020 Correspondence by SOS Office re: No objection
          VPC mailers
PX 17     May 20, 2020 Correspondence Between VPC/CVI Relevance (FRE 401);
          and Chris Harvey (SOS)                             Hearsay (802)
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 Exhibit                                                     Defendants'
                      Document Description
 Number                                                       Objections
PX 18    June 29, 2020 Correspondence Between            Relevance (FRE 401);
         VPC/CVI and Chris Harvey (SOS)                  Hearsay (802)
PX 19    June 30, 2020 Correspondence Between            Relevance (FRE 401);
         VPC/CVI and Chris Harvey (SOS)                  Hearsay (802)
PX 20    August 6, 2020 Correspondence Between           Relevance (FRE 401);
         VPC/CVI and Chris Harvey (SOS)                  Hearsay (802)
PX 21    August 6, 2020 Follow Up Correspondence         Relevance (FRE 401);
         Between VPC/CVI and Chris Harvey (SOS)          Hearsay (802)
PX 22    November 16, 2020 Correspondence Between        Relevance (FRE 401);
         VPC/CVI and Chris Harvey (SOS)                  Hearsay (802)
PX 23    September 9, 2021 Correspondence Between        Relevance (FRE 401);
         VPC/CVI and Blake Evans (SOS)                   Hearsay (802)
PX 24    January 4, 2022 Correspondence Between          Relevance (FRE 401);
         VPC/CVI and Blake Evans (SOS)                   Hearsay (802)
PX 25    June 10, 2022 Correspondence Between            Hearsay (802)
         VPC/CVI and Blake Evans (SOS)
PX 26    Sample CVI 2020 Mailer with Prefilled           No objection
         Information Variation 1
PX 27    Sample CVI 2020 Mailer with Prefilled           No objection
         Information Variation 2
PX 28    March 21, 2022 Expert Report of Dr. Donald P.   No objection
         Green
PX 29    May 18, 2022 Expert Rebuttal Report of Dr.      No objection
         Donald P. Green
PX 30    June 16, 2022 Amended Expert Rebuttal Report    No objection
         of Dr. Donald P. Green
PX 31    Dr. Donald P. Green Resume                      No objection
PX 32    Justin Grimmer CV                               No objection
PX 33    April 29, 2022 Expert Report of Dr. Justin      No objection
         Grimmer
PX 34    RNC Absentee Ballot Application Mailer          Relevance (FRE 401)
PX 35    Georgia Republican Party Absentee Ballot        Relevance (FRE 401)
         Application Mailers
PX 36    Sept. 14, 2020 VPC & CVI Memo - "Lessons        Hearsay (FRE 802)
         learned from summer 2020 VBM recruitment
         programs"
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 Exhibit                                                          Defendants'
                       Document Description
 Number                                                            Objections
PX 37    Plaintiffs' Objections and Responses to              No objection
         Defendants' First Set of Interrogatories, Request
         for Production of Documents, and Requests for
         Admission
PX 38    Plaintiffs' Revised Objections and Responses to      No objection
         Defendants' First Set of Interrogatories, Requests
         for Production of Documents, and Requests for
         Admission
PX 39    Letter from Brad Raffensperger to State Rep.         No objection
         Shaw Blackmon
PX 40    Apr. 6, 2021 Mission Control Memo                    Relevance (FRE 401);
                                                              Hearsay (FRE 802)
PX 41      2022 Election Response Data for CVI                Relevance (FRE 401)
PX 42      2022 Election Response Data for VPC                Relevance (FRE 401)
PX 43      2018 Runoff GA GOP Absentee Ballot Mailer          Relevance (FRE 401)
           with Prefilled Date
PX 44      GA GOP Absentee Ballot Application Mailer         Relevance (FRE 401)
PX 45      2020 General GA GOP Absentee Ballot Mailer        Relevance (FRE 401)
           with Prefilled Date
PX 46      March 17, 2022 Email chain re GA GOP mailer Relevance (FRE 401);
           batches                                           Hearsay (FRE 802)
PX 47      Application for Official Absentee Ballot with     No objection
           Disclaimer and Markup
PX 48      August 22, 2021 Email re: using older application Relevance (FRE 401);
           form                                              Hearsay (FRE 802)
PX 49      April 7, 2022 Email from county to SOS re: SB     Relevance (FRE 401);
           202 interpretation                                Hearsay (FRE 802)
PX 50      November 1, 2021 email from Cherokee County Relevance (FRE 401);
           re: prefilling                                    Hearsay (FRE 802)
PX 51      October 4, 2021 Email from county to SOS re:      Relevance (FRE 401);
           absentee ballot application procedures            Hearsay (FRE 802)
PX 52      September 10, 2021 Email from candidate for       Relevance (FRE 401);
           office                                            Hearsay (FRE 802)
PX 53      June 4, 2021 Email chain re: scanned signature    Relevance (FRE 401);
           for absentee ballot application                   Hearsay (FRE 802)
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 Exhibit                                                       Defendants'
                       Document Description
 Number                                                         Objections
PX 54    March 8, 2022 Email between county and SOS re: Relevance (FRE 401);
         prefilled application                             Hearsay (FRE 802)
PX 55    March 8, 2022 Email between county and SOS re: Relevance (FRE 401);
         prefilled application                             Hearsay (FRE 802)
PX 56    March 8, 2022 Email between county and SOS re: Relevance (FRE 401);
         prefilled application                             Hearsay (FRE 802)
PX 57    September 9, 2020 Email re: absentee ballot       Hearsay (FRE 802)
         application procedures
PX 58    August 10, 2020 email re: absentee ballot         Relevance (FRE 401);
         application procedures                            Hearsay (FRE 802)
PX 59    Raffensperger statement re: third party absentee No objection
         ballot applications
PX 60    Letter from Brad Raffensperger to legislators re: No objection
         changes to election process because of COVID-19

PX 61     January 3, 2021 Email from Jordan Fuchs to Brad No objection
          Raffensperger re: election integrity
PX 62     June 28, 2020 email to SOS Re: Question on       Relevance (FRE 401);
          absentee ballot applications                     Hearsay (FRE 802)
PX 63     Voter requesting mail-in ballot application from Relevance (FRE 401);
          RNC                                              Hearsay (FRE 802)
PX 64     Testimony Summary from Dec. 3, 2020 Hearing No objection
          on Election Issues
PX 65     July 10, 2020 VPC/CVI Memo - "Lessons learned Hearsay (FRE 802)
          from spring 2020 VBM programs"
PX 66     February 25, 2022 VPC/CVI Memo - ways            Hearsay (FRE 802)
          CVI/VPC work to improve accuracy of programs
PX 67     February 25, 2021 VPC/CVI Memo -                 Hearsay (FRE 802)
          "Preliminary Georgia runoff program results"
PX 68     April 21, 2022 Email between VPC/CVI and         Hearsay (FRE 802)
          America Votes
PX 69     VPC/CVI Press Release about 2022 Mailing         Hearsay (FRE 802)
          Program
PX 70     VPC/CVI Low Dollar Donor fundraising email       Relevance (FRE 401);
          draft                                            Hearsay (FRE 802)
PX 71     2022 VPC/CVI Budget File                         No objection
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 Exhibit                                                       Defendants'
                       Document Description
 Number                                                         Objections
PX 72    Augusta Chronicle OpEd - "Guest Column:           Relevance (FRE 401);
         Republican Party wins on Election Day, and        Hearsay (FRE 802);
         future is bright"                                 More prejudicial than
                                                           probative (FRE 403)
PX 73     December 29, 2020 Secretary of State Press       No objection
          Release - "3rd Strike Against Voter Fraud Claims
          Means They're Out After Signature Audit Finds
          No Fraud"
PX 74     Folley The Hill Article - "Georgia secretary of   Relevance (FRE 401);
          state withholds support for ‘reactionary’ GOP     Hearsay (FRE 802);
          voting bills"                                     More prejudicial than
                                                            probative (FRE 403)
PX 75     McCord Augusta Chronicle Article - "Augusta       Relevance (FRE 401);
          Commission election mailer flagged for Georgia Hearsay (FRE 802);
          Secretary of State review"                        More prejudicial than
                                                            probative (FRE 403)
PX 76     The Hill Article - "Georgia’s GOP House Speaker Relevance (FRE 401);
          says vote-by-mail system would be ‘devastating to Hearsay (FRE 802);
          Republicans’"                                     More prejudicial than
                                                            probative (FRE 403)
PX 77     Yeomans Gwinnett Daily Post Article - "Gwinnett Relevance (FRE 401);
          elections board's new chairwoman wants limits on Hearsay (FRE 802);
          no-excuse absentee voting, voter roll review"     More prejudicial than
                                                            probative (FRE 403)
PX 78     April 26, 2022 Declaration of Tom Lopach          Hearsay (FRE 802)
PX 79     February 4, 2021, February 22, 2021, February     No objection
          23, 2021, March 17, 2021, March 18, 2021 SB
          202 Hearings
PX 80     February 22, 2021, March 18, 2021 SB 202          No objection
          Hearings
PX 81     February 4, 2021, February 22, 2021, February     No objection
          23, 2021, March 17, 2021, March 18, 2021 SB
          202 Hearings
PX 82     Poll Worker Manual                                No objection
PX 83     RNC Absentee Ballot Push & Identification Door Relevance (FRE 401);
          Script                                            Hearsay (FRE 802)
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 Exhibit                                                        Defendants'
                       Document Description
 Number                                                          Objections
PX 84    Scanlan ABCNews Article - "'We've never found Hearsay (FRE 802)
         systemic fraud, not enough to overturn the
         election,' Georgia Secretary of State
         Raffensperger says"
PX 85    Zauner Fox5 Article - "Georgia Secretary of State Relevance (FRE 401);
         reaffirms no widespread voter fraud, suggests      Hearsay (FRE 802)
         changes to absentee voting"
PX 86    Trump-Themed GA GOP Absentee Ballot Mailer Relevance (FRE 401);
                                                            Hearsay (FRE 802)
PX 87    Journal of Political Marketing Excerpt             Relevance (FRE 401);
                                                            Hearsay (FRE 802)
PX 88    Research Article by Hans JG Hassell                Relevance (FRE 401);
                                                            Hearsay (FRE 802)
PX 89    August 31, 2020 Secretary of State Press Release - No objection
         "Secretary of State Brad Raffensperger Unveils
         New Online Absentee Ballot Request Portal"

PX 90     King and Stucka Augusta Chronicle Article -      Relevance (FRE 401);
          "'Digital divide': In Georgia, many still lack   Hearsay (FRE 802)
          broadband access"
PX 91     Nwogu Savannah Morning News Article -            Relevance (FRE 401);
          "Barriers to the ballot: Georgia voters with     Hearsay (FRE 802)
          disabilities working to improve access to the
          polls"
PX 92     Ripley Alive Article - "Geogia voters finding    Relevance (FRE 401);
          dead links when trying to request absentee       Hearsay (FRE 802)
          ballots"
PX 93     2005 Georgia Laws Act 53 (H.B. 244)              No objection
PX 94     Sample 2022 Ballot Application Mailers           No objection
PX 95     2018-2020 GA VBM Unsubscribe Request             No objection
PX 96     July 27, 2020 Email from Alexander Foti to SOS   Relevance (FRE 401);
          re: voting absentee                              Hearsay (FRE 802)
PX 97     2020 CVI and GA NAACP Sample Cover Letter        No objection
PX 98     LWV v. State of Missouri Order Granting PI       No objection
PX 99     2020 Republican Party of Georgia Absentee        Relevance (FRE 401);
          Ballot Application Mailer                        Hearsay (FRE 802)
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 Exhibit                                                        Defendants'
                      Document Description
 Number                                                          Objections
PX 100   Bluestein Article, Atlanta Journal-Constitution    Relevance (FRE 401);
                                                            Hearsay (FRE 802)
PX 101     Axelrod Article, The Hill                        Relevance (FRE 401);
                                                            Hearsay (FRE 802)
PX 102     March 31, 2021 Email subject line "Post-Sine Die Relevance (FRE 401);
           Legislative Report"                              Hearsay (FRE 802)
PX 103     December 14, 2021 Email Re: 2020 General         Relevance (FRE 401);
           Election Absentee Numbers                        Hearsay (FRE 802)
PX 104     January 22, 2021 Email with document attached Relevance (FRE 401);
           titled "Voting Legislation Ideas"                Hearsay (FRE 802)
PX 105     March 6, 2021 Email Re: Urgent Action Alert on Relevance (FRE 401);
           Election Security Legislation                    Hearsay (FRE 802)
PX 106     February 2, 2021 Email with document attached Relevance (FRE 401);
           titled "Legislative Election Report"             Hearsay (FRE 802)
PX 107     February 27, 2021 Email Re: Legislative          Relevance (FRE 401);
           Movement to Fortify our Election Process         Hearsay (FRE 802);
                                                            More prejudicial than
                                                            probative (FRE 403)
PX 108     Report of the Election Confidence Task Force     Relevance (FRE 401);
                                                            Hearsay (FRE 802)
PX 109     July 10, 2020 Email Re: Voter Contact Analysis Relevance (FRE 401);
                                                            Hearsay (FRE 802)
PX 110     March 3, 2020 Email with Application for         Relevance (FRE 401);
           Official Absentee Ballot Attached                Hearsay (FRE 802)
PX 111     September 30, 2021 Email with attachments re:    No objection
           process for investigations
PX 112     November 21, 202 Email thread re absentee ballot Relevance (FRE 401);
           application report                               Hearsay (FRE 802)
PX 113     Georgia Voter Registration System website        No objection
PX 114     Georgia SoS Voter Registration, Frequently       Relevance (FRE 401)
           Asked Questions
PX 115     Georgia SoS Voter Registration User Guide,       Relevance (FRE 401)
           County Administrator and Assistant County
           Administrator
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 Exhibit                                                     Defendants'
                     Document Description
 Number                                                       Objections
PX 116   Document entitled SoS Elections Division,       Relevance (FRE 401)
         Georgia's Voting Procedures Introduced Through
         SB 202
PX 117   Absentee Ballott Micro Learning Video Script - Relevance (FRE 401)
         In Mail
PX 118   Document entitled A Guide for Registered Voters No objection

PX 119    Document entitled Overview of Absentee Voting, Relevance (FRE 401);
          Ballot Issuing/Mailing, and Processing Returns Hearsay (FRE 802)

PX 120    January 22, 2020 Certification of Administrative No objection
          Rules filed with the Secretary of State
PX 121    December 17, 2019 State Election Board Hearing No objection
          Transcript
PX 122    February 10, 2021 State Election Board Hearing No objection
          Transcript
PX 123    February 17, 2021 State Election Board Hearing No objection
          Transcript
PX 124    February 24, 2021 State Election Board Hearing No objection
          Transcript
PX 125    February 17, 2021 State Election Board Meeting No objection
          Agenda
PX 126    September 21, 2021 State Election Board Meeting No objection
          Agenda
PX 127    September 30, 2019 Secretary of State Report     No objection
          Investigations Division Summary
PX 128    March 22, 2021 email correspondence re: open     Relevance (FRE 401);
          records request for CVI/VPC data                 Hearsay (FRE 802)
PX 129    Letter from State of Georgia Superior Courts,    Relevance (FRE 401)
          dated April 6, 2021
PX 130    January 5, 2021 email from Judicial Watch to     Relevance (FRE 401);
          SOS                                              Hearsay (FRE 802)
PX 131    Attatchment to January 5, 2021 email from        Relevance (FRE 401)
          Judicial Watch to SOS
PX 132    September 6, 2020 E-mail from Blake Evans to     Relevance (FRE 401);
          Fulton County                                    Hearsay (FRE 802)
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 Exhibit                                                        Defendants'
                       Document Description
 Number                                                          Objections
PX 133   September 18, 2020 E-mail from Blake Evans to      Relevance (FRE 401);
         Marjorie Howard                                    Hearsay (FRE 802)
PX 134   June 8, 2022 E-mail from Mr. Tyson to Mr.          Relevance (FRE 401);
         Waters Re: Mission Control Memo                    Hearsay (FRE 802)
PX 135   Title pages of Get Out the Vote, Donald P. Green   Relevance (FRE 401);
         and Alan S. Gerber                                 Hearsay (FRE 802)
PX 136   Chapters 1 and 2 of Get out the Vote               Relevance (FRE 401);
                                                            Hearsay (FRE 802)
PX 137    Chapter 5 of Get out the Vote                     Relevance (FRE 401);
                                                            Hearsay (FRE 802)
PX 138    Abstract: "how Much GOTV Mail is Too Much? Relevance (FRE 401);
          Result from a Large-Scale Field Experiment,"      Hearsay (FRE 802)
          Green and Zelizer
PX 139    December 2, 2020 Press Release entitled           No objection
          "Secretary Raffensperger Launches Investigation
          into groups Encouraging Fraudulent
          Registrations"
PX 140    February 11, 2021 Press Release entitled "State   No objection
          201 Election Board Refers Voter Fraud Cases for
          Prosecution" dated February 11, 2021
PX 141    August 28, 2020 Press Release entitled "State     No objection
          Election Board Refers Fulton Absentee
          Mishandling Case to Georgia Attorney General"
          dated August 28, 2020
PX 142    Press Release dated February 18, 2021 titled      No objection
          "Ra!ensperger Sends More Voting Cases to
          Prosecutors"
PX 143    Press release entitled "Election Fraud Cases Sent No objection
          to Prosecution as Dominion Refutes
          Disinformation" dated February 26, 2021
PX 144    Spreadsheet of Open Matters                       No objection
PX 145    Press Release entitled "Secretary Raffensperger No objection
          opens Investigation into Potential Missing
          Absentee Ballot Applications dated March 21,
          2019
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 Exhibit                                                       Defendants'
                        Document Description
 Number                                                         Objections
PX 146   Article entitled, "Secretary of State Brad        No objection
         Raffensperger Appoints Absentee Ballot Fraud
         Task Force" dated April 27, 2020
PX 147   Table re: absentee ballot application numbers in Relevance (FRE 401)
         2020
PX 148   CNN article titled "The 2020 election wasn’t      Relevance (FRE 401);
         stolen. But Douglas Frank and his bogus equation Hearsay (FRE 802)
         claiming otherwise are still winning over
         audiences."
PX 149   Application for Georgia Official Absentee Ballot No objection
PX 150   Draft of Georgia House Bill 1464                  No objection
PX 151   Excerpt of a spreadsheet showing cases SEB        No objection
         considered in 2020
PX 152   GEOC Course 8: Absentee Ballot Procedures         No objection
         (Georgia Election Official Certification)
PX 153   GEOC Course 8: Absentee Ballot Procedures         No objection
         (Georgia Registrar Official Certification)
PX 154   April 2021 Elections Forum                        No objection
PX 155   May 2021 Elections Forum                          No objection
PX 156   March 2022 Overview of Absentee Voting, Ballot No objection
         Issuing/Mailing, and Processing Returns
PX 157   June 11, 2020 VPC & CVI Memo - "Structure for Relevance (FRE 401);
         Summer/Fall Vote-by-Mail Programs"                Hearsay (FRE 802)
PX 158   August 11, 2020 Email re: absentee push calls and Relevance (FRE 401);
         script                                            Hearsay (FRE 802)
PX 159   March 20, 2020 Email re: absentee push calls and Relevance (FRE 401);
         script                                            Hearsay (FRE 802)
PX 160   VPC mailer to Cliff Alexis                        Relevance (FRE 401);
                                                           Hearsay (FRE 802)
PX 161   List of investigations by SEB in 2018-2021        No objection
PX 162   List of investigations by SEB in 2016-2020        No objection
PX 163   February 2021 State Election Board Webinar        No objection
         Meeting Agenda
PX 164   State Election Board Notice of Proposed           No objection
         Rulemaking after SB 202
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 Exhibit                                                       Defendants'
                       Document Description
 Number                                                         Objections
PX 165   March 9, 2022 Email re: accepting prefilled       Relevance (FRE 401);
         absentee ballot application                       Hearsay (FRE 802)
PX 166   October 16, 2020 Email re: Absentee ballot report Relevance (FRE 401);
                                                           Hearsay (FRE 802)
PX 167   August 2021 SEB Webinar Meeting Agenda            No objection
PX 168   SEB Notive of Proposed Rulemaking re:             No objection
         disclaimer, application processing
PX 169   VPC voter registration mailer                     No objection
PX 170   VPC voter registration mailer                     No objection
PX 171   SOS Document Explaining Disclaimer                Relevance (FRE 401)
PX 172   List of steps CVI/VPC take to only mail           Hearsay (FRE 802)
         registration mailers to eligible people
PX 173   HB 1464 outline with SOS office's markup          No objection
PX 174   RNC Comments in support of proposed               Relevance (FRE 401);
         rulemaking post-SB 202                            Hearsay (FRE 802)
PX 175   Email from Ryan Germany to SOS office's "Rules No objection
         Working Group" regarding rulemaking post-SB
         202
PX 176   Outline of Election Roundtables Discussions       No objection
PX 177   2019 Email from Ryan Germany re VPC               No objection
PX 178   Email from Ryan Germany to Brad Raffensperger No objection
         with outline of proposed rule changes

PX 179    Lawyers' Committee et al. NVRA notice letter re: Relevance (FRE 401);
          sending english-only applications to Spanish-    Hearsay (FRE 802)
          speaking population
PX 180    May 1, 2020 Email from to Ryan Germany re:       Relevance (FRE 401);
          GOP absentee ballot application                  Hearsay (FRE 802)
PX 181    July 20, 2020 Email chain re: absentee ballot    Relevance (FRE 401);
          application on website                           Hearsay (FRE 802)
PX 182    December 20, 2019 Email from Democratic Party Relevance (FRE 401);
          of Georgia to SOS                                Hearsay (FRE 802)
PX 183    September 15, 2020 Email from Democratic Party Relevance (FRE 401);
          of Georgia to SOS                                Hearsay (FRE 802)
PX 184    September 23, 2020 Email from Democratic Party Relevance (FRE 401);
          of Georgia to SOS                                Hearsay (FRE 802)
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 Exhibit                                                    Defendants'
                       Document Description
 Number                                                      Objections
PX 185   November 19, 2020 Email from Democratic Party Relevance (FRE 401);
         of Georgia to SOS                              Hearsay (FRE 802)
PX 186   December 2020 SB 202 House Government          Hearsay (FRE 802)
         Affairs Meeting Notes
PX 187   December 27, 2020 Email Chain between county Relevance (FRE 401);
         offices                                        Hearsay (FRE 802)
PX 188   December 30, 2020 Letter from Senator Ligon to Relevance (FRE 401);
         SOS re 2020 general election                   Hearsay (FRE 802)
PX 189   Georgia SOS 2020 Election Report               Relevance (FRE 401)
PX 190   February 2021 Mitre Audit                      Relevance (FRE 401);
                                                        Hearsay (FRE 802)
PX 191   List of notes re: various SB 202 provisions    Hearsay (FRE 802)
PX 192   Comparison of various election-related bills,  Hearsay (FRE 802)
         including SB 202
PX 193   Minority report on SB 202                      Relevance (FRE 401);
                                                        Hearsay (FRE 802)
PX 194   Talking points and FAQs about House version of Relevance (FRE 401);
         SB 202                                         Hearsay (FRE 802)
PX 195   Talking points and FAQs about SB 202           Relevance (FRE 401);
                                                        Hearsay (FRE 802)
PX 196   March 2021 SB 202 Election Reforms Synopsis Relevance (FRE 401);
                                                        Hearsay (FRE 802)
PX 197   Letter from Superior Court Judge to Frances    Relevance (FRE 401)
         Watson
PX 198   Analysis of media claims surrounding SB 202    Relevance (FRE 401)
PX 199   Voter Integrity Project 2021 Georgia Report    Relevance (FRE 401);
                                                        Hearsay (FRE 802)
PX 200   Summary of SB 202 Rule Changes to Be Made      No objection
PX 201   Application for Official Absentee Ballot with  No objection
         Disclaimer on bottom
PX 202   Application for Official Absentee Ballot with  No objection
         Placeholder for Disclaimer
PX 203   June 23, 2021 Email from Ryan Germany re:      Relevance (FRE 401);
         absentee ballot application redesign for 2021  Hearsay (FRE 802)
         election
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 Exhibit                                                      Defendants'
                       Document Description
 Number                                                        Objections
PX 204   June 23, 2021 Email from Ryan Germany to         Relevance (FRE 401);
         Jordan Fuchs re: absentee ballot application     Hearsay (FRE 802)
         redesign for 2021 election
PX 205   Mock up of Application for Georgia Official      No objection
         Absentee Ballot
PX 206   August 13, 2021 Email from Ryan Germany to       Relevance (FRE 401)
         Vincent Russo re: Draft SEB Rules
PX 207   August 13, 2021 Email from Ryan Germany to       Relevance (FRE 401)
         Sachin Varghese re: Draft SEB Rules
PX 208   August 20, 2021 Email between SOS and County     Relevance (FRE 401);
         re: absentee ballot application procedures       Hearsay (FRE 802)

PX 209    September 21, 2021 Ryan Germany letter with     Relevance (FRE 401)
          rules for implementing SB 202 attached
PX 210    SEB Notice of Proposed Rulemaking (for rules    No objection
          implementing SB 202)
PX 211    Notarized letter re: rule amendments            No objection
PX 212    March 1, 2022 Email from Steven Ellis to Ryan   No objection
          Germany re: SB 202
PX 213    March 1, 2022 email between counties and Ryan     Relevance (FRE 401);
          Germany re: SB 202                                Hearsay (FRE 802)
PX 214    Comments re: HR1464, house version of SB 202      Relevance (FRE 401);
                                                            Hearsay (FRE 802)
PX 215    April 6, 2020 email from Forsyth County           Hearsay (FRE 802)
PX 216    August 21, 2020 Email Re: Cherokee County         Relevance (FRE 401);
          Absentee Ballot Return Address Issue              Hearsay (FRE 802)
PX 217    Fanin County letter to SOS                        Hearsay (FRE 802)
PX 218    USPS presentation about processing, delivering, Relevance (FRE 401);
          returning ballots and applications                Hearsay (FRE 802)
PX 219    March 10, 2021 Email from third party to SOS      Relevance (FRE 401);
          regarding third party absentee ballot application Hearsay (FRE 802)
PX 220    Suggested changes to SEB rules 183-1-12, 183-1- Hearsay (FRE 802)
          14
PX 221    List of questions presented at GAVREO from        Relevance (FRE 401);
          counties to SOS                                   Hearsay (FRE 802)
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 Exhibit                                                      Defendants'
                    Document Description
 Number                                                        Objections
PX 222   Bartow County presentation 2020 and Beyond       Relevance (FRE 401);
                                                          Hearsay (FRE 802)
PX 223    SOS presentation to county officials about      Relevance (FRE 401);
          absentee voting procedures                      Hearsay (FRE 802)
PX 224    June 29, 2020 email chain regarding how to      Relevance (FRE 401);
          process electronic signatures, online ballot    Hearsay (FRE 802)
          applications
PX 225    June 29, 2020 email chain regarding how to       Relevance (FRE 401);
          process electronic signatures, online ballot     Hearsay (FRE 802)
          applications
PX 226    October 18, 2021 email chain between county and Relevance (FRE 401);
          SOS re: absentee in person voting procedure      Hearsay (FRE 802)
PX 227    September 17, 2020 email chain re: absentee      Relevance (FRE 401);
          ballot reports                                   Hearsay (FRE 802)
PX 228    SEB rules outline for implementation of SB 202 Relevance (FRE 401)
          from Ryan Germany
PX 229    September 13, 2019 Email chain between Ryan      No objection
          Germany and Brad Raffensperfer about SEB rules
          outline
PX 230    Civix summary of changes and cost quote for tech Relevance (FRE 401)
          changes needed because of SB 202
PX 231    September 2021 RNC comments about SEB            Relevance (FRE 401);
          proposed rule changes                            Hearsay (FRE 802)
PX 232    Query from organization re: whether disclaimers Hearsay (FRE 802)
          must be included with hand-distributed
          applications
PX 233    March 2021 Summary of house and senate           Hearsay (FRE 802)
          versions of bill
PX 234    Presentation by Ryan Germany to county officials No objection
          on SB 202
PX 235    Talking points and FAQs about House version of Hearsay (FRE 802)
          SB 202
PX 236    March 15, 2022 email re: absentee ballot         No objection
          application redesign for 2022 election
PX 237    Document entitled "Georgia Election Code         No objection
          Cleanup"
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 Exhibit                                                     Defendants'
                       Document Description
 Number                                                       Objections
PX 238   2022 Talking points on safety of GA election    No objection
         system
PX 239   November 20, 2020 SEB Report of Seven Hills     Relevance (FRE 401);
         Strategies                                      Hearsay (FRE 802)
PX 240   March 2022 Georgia SOS Voter Registration User Relevance (FRE 401)
         Guide
PX 241   December 2020 House Government Affairs          Relevance (FRE 401);
         Committee Meeting Notes                         Hearsay (FRE 802)
PX 242   June 2020 Email chain about error in state's    Relevance (FRE 401);
         absentee ballot application                     Hearsay (FRE 802)
PX 243   May 19, 2020 Email chain between Kevin          Relevance (FRE 401);
         Rayburn and Charles Stewart                     Hearsay (FRE 802)
PX 244   May 5, 2020 Email chain between Kevin Rayburn Relevance (FRE 401);
         and Fayette County                              Hearsay (FRE 802)
PX 245   March 2020 SOS Election Bulletin for Counties No objection
PX 246   April 2020 SOS Election Bulletin for Counties   No objection
PX 247   April 2020 Email from county to SOS re absentee Relevance (FRE 401);
         ballot applications                             Hearsay (FRE 802)
PX 248   Formal request from county to SOS re absentee   Relevance (FRE 401);
         ballot applications                             Hearsay (FRE 802)
PX 249   February 19, 2020 Voter email to SOS asking     Relevance (FRE 401);
         where to send application for absentee ballot   Hearsay (FRE 802)
PX 250   January 2020 SEB meeting about regulations      No objection
         implementing SB 202
PX 251   October 8, 2019 Email Re: application signature Relevance (FRE 401);
         cure                                            Hearsay (FRE 802)
PX 252   April 27, 2020 email exchange within SOS re:    Relevance (FRE 401);
         absentee ballot applications                    Hearsay (FRE 802)
PX 253   Updated Civix summary of changes and cost       Relevance (FRE 401);
         quote for tech changes needed because of SB 202 Hearsay (FRE 802)

PX 254    Civix summary of requested changes and cost     Relevance (FRE 401);
          quote for tech changes needed because of SB 202 Hearsay (FRE 802)
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 Exhibit                                                       Defendants'
                       Document Description
 Number                                                         Objections
PX 255   December 17, 2020 Email re: December 2020         Relevance (FRE 401);
         House Government Affairs Committee Meeting Hearsay (FRE 802)
         Notes
PX 256   Attachment to December 17, 2020 Email re:         Hearsay (FRE 802)
         December 2020 House Government Affairs
         Committee Meeting Notes
PX 257   National Task Force on Voting by Mail Standards Relevance (FRE 401);
                                                           Hearsay (FRE 802)
PX 258   March 18, 2020 Email re SOS sending unsolicted Relevance (FRE 401);
         ballot applications                               Hearsay (FRE 802)
PX 259   SOS presentation to counties about SB 202         Relevance (FRE 401)
PX 260   February 17, 2021 Email Re: SB 202                No objection
PX 261   Summary of investigation and charges by State     No objection
         Election Board
PX 262   RNC talking points in 2021                        Relevance (FRE 401);
                                                           Hearsay (FRE 802)
PX 263   RNC talking points about election integrity ahead Relevance (FRE 401);
         of 2022 general election                          Hearsay (FRE 802)
PX 264   RNC talking points about election integrity ahead Relevance (FRE 401);
         of 2022 general election                          Hearsay (FRE 802)
PX 265   RNC Summary of lawsuits challenging SB 202        Relevance (FRE 401);
                                                           Hearsay (FRE 802)
PX 266   RNC talking points about election integrity ahead Relevance (FRE 401);
         of 2022 general election                          Hearsay (FRE 802)
PX 267   Heritage Action for America Pro-SB 202 Talking Relevance (FRE 401);
         Points                                            Hearsay (FRE 802)
PX 268   Summary of changes made by SB 202                 Relevance (FRE 401);
                                                           Hearsay (FRE 802)
PX 269   SB 202 text with summary of changes, relevant     Relevance (FRE 401);
         caselaw, etc.                                     Hearsay (FRE 802)
PX 270   January 21, 2022 Email re: election integrity     Relevance (FRE 401);
         talking points                                    Hearsay (FRE 802)
PX 271   March 10, 2022 Email chain between county and Relevance (FRE 401);
         SOS re: absentee ballot applications              Hearsay (FRE 802)
PX 272   March 11, 2022 Email chain between county and Relevance (FRE 401);
         SOS re: absentee ballot applications              Hearsay (FRE 802)
         Case 1:21-cv-01390-JPB Document 186 Filed 12/04/23 Page 60 of 76


 Exhibit                                                     Defendants'
                       Document Description
 Number                                                       Objections
PX 273   April 7, 2022 2022 Email between county and     Hearsay (FRE 802)
         SOS re: absentee ballor applications
PX 274   CVI Articles of Incorporation                   No objection
PX 275   VPC Articles of Incorporation                   No objection
PX 276   CVI Bylaws                                      No objection
PX 277   VPC Bylaws                                      No objection
PX 278   CVI 2019 990 Tax Form                           No objection
PX 279   CVI 2020 990 Tax Form                           No objection
PX 280   VPC 2018 990 Tax Form                           No objection
PX 281   VPC 2019 990 Tax Form                           No objection
PX 282   VPC 2020 990 Tax Form                           No objection
PX 283   CVI 2018 990 Tax Form                           No objection
PX 284   2020 Summer/Fall VPC and CVI VBM budget,        Relevance (FRE 401);
         including by mailer wave                        Hearsay (FRE 802)
PX 285   Structure for 2020 Summer/Fall VBM Programs     Hearsay (FRE 802)
PX 286   2021 VPC Fundraising Email Draft                Relevance (FRE 401);
                                                         Hearsay (FRE 802)
PX 287    2021 VPC Fundraising Email Draft               Relevance (FRE 401);
                                                         Hearsay (FRE 802)
PX 288    2021 VPC Fundraising Email Draft re: GA        Relevance (FRE 401);
          legislation                                    Hearsay (FRE 802)
PX 289    March 2021 VPC and CVI Email Newsletter        Relevance (FRE 401);
                                                         Hearsay (FRE 802)
PX 290    2021 VPC Fundraising Email Draft re: GA        Relevance (FRE 401);
          legislation                                    Hearsay (FRE 802)
PX 291    2021 VPC Fundraising Email Draft re: voter     Relevance (FRE 401);
          suppression bills                              Hearsay (FRE 802)
PX 292    2021 VPC Fundraising Email Draft re: GA        Relevance (FRE 401);
          legislation                                    Hearsay (FRE 802)
PX 293    2021 VPC Fundraising Email Draft re: voter     Relevance (FRE 401);
          suppression bills                              Hearsay (FRE 802)
PX 294    2021 VPC Fundraising Email Draft re: GA        Relevance (FRE 401);
          legislation                                    Hearsay (FRE 802)
PX 295    2021 VPC Fundraising Email Draft re: GA        Relevance (FRE 401);
          legislation                                    Hearsay (FRE 802)
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 Exhibit                                                 Defendants'
                       Document Description
 Number                                                   Objections
PX 296   2021 VPC Fundraising Email Draft re: GA     Relevance (FRE 401);
         legislation                                 Hearsay (FRE 802)
PX 297   2021 VPC Fundraising Email Draft re: GA     Relevance (FRE 401);
         legislation & voter suppression             Hearsay (FRE 802)
PX 298   2021 VPC Fundraising Email Draft re: GA     Relevance (FRE 401);
         legislation & voter suppression             Hearsay (FRE 802)
PX 299   2021 VPC Fundraising Email Draft re: GA     Relevance (FRE 401);
         legislation & voter suppression             Hearsay (FRE 802)
PX 300   2021 VPC Fundraising Email Draft re: GA     Relevance (FRE 401);
         legislation & voter suppression             Hearsay (FRE 802)
PX 301   2021 VPC Fundraising Email Draft re: GA     Relevance (FRE 401);
         legislation & voter suppression             Hearsay (FRE 802)
PX 302   April 2021 VPC and CVI Email Newsletter re: Relevance (FRE 401);
         GA Lawsuit                                  Hearsay (FRE 802)
PX 303   2021 VPC Fundraising Email Draft re: GA     Relevance (FRE 401);
         legislation & voter suppression             Hearsay (FRE 802)
PX 304   2021 VPC Fundraising Email Draft re: GA     Relevance (FRE 401);
         legislation & voter suppression             Hearsay (FRE 802)
PX 305   2021 VPC Fundraising Email Draft re: GA     Relevance (FRE 401);
         legislation & voter suppression             Hearsay (FRE 802)
PX 306   2021 VPC Fundraising Email Draft re: GA     Relevance (FRE 401);
         legislation & voter suppression             Hearsay (FRE 802)
PX 307   2021 VPC Fundraising Email Draft re: GA     Relevance (FRE 401);
         legislation & voter suppression             Hearsay (FRE 802)
PX 308   2021 VPC Fundraising Email Draft re: voter  Relevance (FRE 401);
         suppression                                 Hearsay (FRE 802)
PX 309   July 2021 VPC and CVI Email Newsletter      Relevance (FRE 401);
                                                     Hearsay (FRE 802)
PX 310    2020 Georgia Runoff CVI and VPC Budget     Relevance (FRE 401)
PX 311    May 2020 VPC and CVI VBM budget, including Relevance (FRE 401)
          by mailer wave
PX 312    CVI Sample Mailer for 2022 with Disclaimer No objection
PX 313    CVI Sample Mailer for 2022 with Disclaimer No objection
PX 314    Sample Absentee Ballot Request Form with   No objection
          Disclaimer
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 Exhibit                                                      Defendants'
                       Document Description
 Number                                                        Objections
PX 315   Unsubscribe request appearing to be from another Hearsay (FRE 802)
         organization
PX 316   VPC Sample Mailer for 2022 with Disclaimer       No objection
PX 317   VPC Sample Mailer for 2022 with Disclaimer       No objection
PX 318   2022 VPC Sample Cover Letter                     No objection
PX 319   VPC Sample Mailer for 2022 with Disclaimer       No objection
PX 320   VPC Sample Mailer for 2022 with Disclaimer       No objection
PX 321   VPC Sample Mailer for 2022 with Disclaimer       No objection
PX 322   2020 Runoff Mailing List                         Relevance (FRE 401)
PX 323   2020 Primary Mailing List                        Relevance (FRE 401)
PX 324   2020 General Election Mailing List               Relevance (FRE 401)
PX 325   2020 Runoff Mailing List - ID numbers            Relevance (FRE 401)
PX 326   2018 Mailing List                                Relevance (FRE 401)
PX 327   List of Unsubscribe codes for recent elections   Relevance (FRE 401)
PX 328   List of Unsubscribe Requests for 2018, 2020      Relevance (FRE 401)
PX 329   Additional Unsubscribe Requests for people who Relevance (FRE 401)
         already registered/signed up/etc.
PX 330   Program Plan and Stats for 2022 Wave 1 Mailing Relevance (FRE 401)

PX 331    Alisa Hamilton CV                                No objection
PX 332    Draft Consent Form - Blank                       No objection
PX 333    Signed Consent Forms                             No objection
PX 334    Signed Consent Forms                             No objection
PX 335    Signed Consent Forms                             No objection
PX 336    Interview 1 of Hamilton Experiment               Hearsay (FRE 802)
PX 337    Interview 2 of Hamilton Experiment               Hearsay (FRE 802)
PX 338    Interview 3 of Hamilton Experiment               Hearsay (FRE 802)
PX 339    Interview 4 of Hamilton Experiment               Hearsay (FRE 802)
PX 340    Interview 5 of Hamilton Experiment               Hearsay (FRE 802)
PX 341    One page of handwritten notes                    No objection
PX 342    Sample Absentee Ballot Application Form          No objection
          without Disclaimer used in Hamilton experiment
PX 343    Sample Absentee Ballot Application Form with     No objection
          Disclaimer used in Hamilton experiment
PX 344    Sample Absentee Ballot Application Form with     No objection
          Disclaimer (Large) used in Hamilton experiment
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 Exhibit                                                    Defendants'
                    Document Description
 Number                                                      Objections
PX 345   December 27, 2021 Correspondence between       Relevance (FRE 401);
         VPC/CVI and Blake Evans                        Hearsay (FRE 802)
PX 346   Technology Recommendations - Elections         Relevance (FRE 401);
         Division                                       Hearsay (FRE 802)
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                          VoteAmerica v. Raffensperger
                          State Defendatns' Exhibit List
                               November 30, 2023


Ex. No.             Document Description                   Plaintiffs' Objections

  1        Expert Report of Justin Grimmer            No objection

  2        Expert Report of Donald Green              No objection

  3        Expert Rebuttal Report of Donald Green     No objection
  4        Pls.' Voter Mailings                       No objection
                                                      FRE 802 (Hearsay), FRE
                                                      401 (Relevance,
  5        Email from Michelle Smith                  Cumulative)
                                                      FRE 802 (Hearsay), FRE
                                                      401 (Relevance,
  6        Email from Mari Wall                       Cumulative)
                                                      FRE 802 (Hearsay), FRE
                                                      401 (Relevance,
  7        Email from Jeffry Miller                   Cumulative)
                                                      FRE 802 (Hearsay), FRE
                                                      401 (Relevance,
  8        Email from Jill Smith                      Cumulative)
                                                      FRE 802 (Hearsay), FRE
                                                      401 (Relevance,
  9        Email from Richard Braun                   Cumulative)
                                                      FRE 802 (Hearsay), FRE
                                                      401 (Relevance,
  10       Email from Frances Watson                  Cumulative)
                                                      FRE 802 (Hearsay), FRE
                                                      401 (Relevance,
  11       Email from Frances Watson                  Cumulative)
                                                      FRE 802 (Hearsay), FRE
                                                      401 (Relevance,
  12       Email from Frances Watson                  Cumulative)
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Ex. No.             Document Description                Plaintiffs' Objections
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  13       Email from Frances Watson                 Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  14       Email from Ken Ennis                      Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  15       Email from Kerri McBride                  Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  16       Email from Betty Jones Holt               Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  17       Email from Yvette Powell                  Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  18       Email from David Cooper                   Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  19       Email from Deb Buckner                    Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  20       Email from Robert Burke                   Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  21       Email from Steve Mondibrown               Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  22       Email from Elizabeth Brown                Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  23       Email from Rosemarie Kobau                Cumulative)
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Ex. No.             Document Description                Plaintiffs' Objections
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  24       Email from Larry Causy Jr.                Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  25       Email from Glenn Hayden                   Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  26       Email from Thomas Woodward                Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  27       Email from Richard Wright                 Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  28       Email from Victor Hudon                   Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  29       Email from Lenny Mercurio                 Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  30       Email from Stefanie Franklin              Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  31       Email from Frances Watson                 Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  32       Email from Chris Harvey                   Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  33       Email from Frances Watson                 Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  34       Email from Frances Watson                 Cumulative)
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Ex. No.             Document Description                Plaintiffs' Objections
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  35       Email from Frances Watson                 Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  36       Email from Frances Watson                 Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  37       Email from Lorraine Holtsinger            Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  38       Email from Michael Barrett Culpepper      Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  39       Email from Cathy Carter                   Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  40       Email from Laurice Herzov                 Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  41       Email from Leanne Lewis                   Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  42       Email from Justin Cavanaugh               Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  43       Email from Patti Tennis                   Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  44       Email from Elaine Barnes-Bailey           Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  45       Email from Jody Williams Traylor          Cumulative)
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Ex. No.             Document Description                Plaintiffs' Objections
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  46       Email from Peggy Johnson                  Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  47       Email from Matthew Kirby                  Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  48       Email from Sheree Muniz                   Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  49       Email from Greg Ragsdale                  Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  50       Email from Leonard Celaya                 Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  51       Email from Ryan Stern                     Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  52       Email from Heather Vedell                 Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  53       Email from Richard Cree                   Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  54       Email from Brian Fisher                   Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  55       Email from Dustin Young                   Cumulative)
                                                     FRE 802 (Hearsay), FRE
                                                     401 (Relevance,
  56       Email from Suzanne Grantham               Cumulative)
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Ex. No.             Document Description             Plaintiffs' Objections
                                                  FRE 802 (Hearsay), FRE
                                                  401 (Relevance,
  57       Email from Frances Watson              Cumulative)
                                                  FRE 802 (Hearsay), FRE
                                                  401 (Relevance,
  58       Email from Samantha Briner             Cumulative)
                                                  FRE 802 (Hearsay), FRE
                                                  401 (Relevance,
  59       Email from Jaime Graham                Cumulative)
                                                  FRE 802 (Hearsay), FRE
                                                  401 (Relevance,
  60       Email from Joyce Grant                 Cumulative)
                                                  FRE 802 (Hearsay), FRE
                                                  401 (Relevance,
  61       Email from Ashley Cline                Cumulative)
                                                  FRE 802 (Hearsay), FRE
                                                  401 (Relevance,
  62       Email from Carol Heard                 Cumulative)
                                                  FRE 802 (Hearsay), FRE
           Email exchange between Frances Watson 401 (Relevance,
  63       and Axiver                             Cumulative)
           Email exchange between Ryan Germany    FRE 802 (Hearsay), FRE
  64       and Kevin Rayburn                      401 (Relevance)
                                                  FRE 802 (Hearsay), FRE
                                                  401 (Relevance,
  65       Email from Mildred Shaw                Cumulative)
                                                  FRE 802 (Hearsay), FRE
                                                  401 (Relevance,
  66       Email from Brent Dodson                Cumulative)
                                                  FRE 802 (Hearsay), FRE
           Email exchange betwee Ryan Germany and 401 (Relevance,
  67       Frances Watson                         Cumulative)
  68       Poll Worker Manual                     No objection
                                                  FRE 802 (Hearsay), FRE
  69       Email from Kimberly Spell-Fowler       401 (Relevance)
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 Ex. No.               Document Description              Plaintiffs' Objections
                                                      FRE 802 (Hearsay), FRE
                                                      401 (Relevance,
    70      Email from Brian Pollard                  Cumulative)
                                                      FRE 802 (Hearsay), FRE
                                                      401 (Relevance,
    71      Email from Ivellies Wilson                Cumulative)
                                                      FRE 802 (Hearsay), FRE
                                                      401 (Relevance,
    72      Email from David Meyers                   Cumulative)
    73      Email from Brenda Hodges                  FRE 802 (Hearsay)
    74      Absentee-ballot application               No objection
            Get Out the Vote: How to Increase Voter
            Turnout (by Donald Green and Alan
    75      Gerber)                                   FRE 802 (Hearsay)
            How Much GOTV Mail is Too Much?
            Results from a Large-Scale Field
            Experiment (by Donald Green and Adam
    76      Zelizer)                                  FRE 802 (Hearsay)
            Email between Jonathan Diaz and Alisa     FRE 802 (Hearsay), FRE
    77      Hamilton (Mar. 9, 2022)                   401 (Relevance)
                                                      Standing Order Regarding
                                                      Civil Litigation for Cases
                                                      Proceeding Before The
                                                      Honorable J. P. Boulee,
Any exhibit listed on Plaintiffs' exhibit list        Section III(p)
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      ATTACHMENT F-1
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PLAINTIFFS’ PROPOSED DEPOSITION DESIGNATIONS WITH STATE
           DEFENDANTS’ COUNTER DESIGNATIONS


Deponent Name          Start Start End   End Counter designations
                       Page Line Page Line
Alisa Hamilton              9     9   10    4            11:2 – 12:1
Alisa Hamilton            15    20    16    8     6:9 – 6:13; 16:9 –
                                                               16:23
Alisa Hamilton            15      9   15   19          14:23 – 15:8
Alisa Hamilton            19    25    20    8         18:10 – 18:12
Alisa Hamilton            19      6   19   17         19:18 – 19:24
Alisa Hamilton            20    15    20   21         20:22 – 20:25
Alisa Hamilton            23      5   23   20          24:10 – 25:5
Alisa Hamilton            25    23    26   15 26:16 – 27:5; 27:13 –
                                                               31:15
Alisa Hamilton            33    24    34   11          32:7 – 32:23
Alisa Hamilton            34    19    35    1         34:12 – 34:18
Alisa Hamilton            38      3   38   11  38:1 – 38:2; 38:12 –
                                                               38:17
Alisa Hamilton            39    24    40   23 39:4 – 39:23; 40:24 –
                                                                41:8
Alisa Hamilton            42      3   42    8  41:11 – 42:2; 42:9 –
                                                               42:14
Alisa Hamilton            42    15    42   23         42:24 – 42:25
Alisa Hamilton            47    13    48    9   43:7 – 44:2; 45:3 –
                                                 46:12; 47:7 – 48:4
Alisa Hamilton            48    20    49    6         48:10 – 48:14
Alisa Hamilton            50    11    51   11         49:16 – 50:10
Alisa Hamilton            52      9   52   23 51:12 – 52:8; 53:18 –
                                                               55:23
Alisa Hamilton            56      8   57   15  56:5 – 56;7; 57:20 –
                                                               59:18
Alisa Hamilton            60      5   61    9 59:23 – 60:4; 61:18 –
                                                                62:1
Alisa Hamilton            62      2   62   18         62:19 – 62:24
Alisa Hamilton            63      4   63    7         63:13 – 64:13
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Deponent Name          Start Start End   End Counter designations
                       Page Line Page Line
Ryan Caudelle             18    13    20    8
Ryan Caudelle             22    14    23   25
Ryan Caudelle             25    12    26   13
Ryan Caudelle             26    14    27   11
Ryan Caudelle             28    23    29   19         28:3 – 28:22
Ryan Caudelle             29    22    30   23




                                    4
